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13
                                   UNITED STATES DISTRICT COURT
14
                   CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15
16
   OMEED TABIEI, individually and on              CASE No. 2:18-cv-7677
17 behalf of all others similarly situated,
18                    Plaintiff,                  NOTICE OF REMOVAL BY
19            v.                                  DEFENDANT AFLAC, INC.
20 AFLAC,                                         UNDER 28 U.S.C. § 1331 [FEDERAL
              INCORPORATED,           and         QUESTION]
21 DOES 1 through 10, inclusive, and each
   of them.                                       [Filed concurrently with Civil Cover
22
              Defendant.                          Sheet, Notice of Interested Parties and
23                                                Corporate Disclosure Statement]
24
                                                  Complaint Filed: July 30, 2018
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                                             NOTICE OF REMOVAL BY DEFENDANT AFLAC, INC.
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 1           TO THE CLERK OF THE ABOVE-ENTITLED COURT:
 2           PLEASE TAKE NOTICE that, pursuant to 28 U.S.C §§ 1331, 1441, and
 3 1446, Defendant, Aflac, Inc. (“AFLAC”), hereby removes this civil action from the
 4 Superior Court of California for the County of Los Angeles, where it is currently
 5 pending as Case No. BC715164, to the United States District Court for the Central
 6 District of California, Western Division.
 7 I.        THE STATE COURT ACTION
 8           1.   On or about July 30, 2018, Plaintiff, Omeed Tabiei, filed a Class
 9 Action Complaint against AFLAC entitled Omeed Tabiei, individually and on
10 behalf of all others similarly situated v. Aflac, Inc., and DOES 1-10, Case No.
11 BC715164, in the Superior Court of California for the County of Los Angeles.
12 (“State Court Action”).
                           1


13           2.   Plaintiff’s lawsuit arises from a dispute regarding AFLAC’s contact of
14 the Plaintiff via his cellular telephone in 2018. In the Complaint, Plaintiff alleges
15 violation of the Telephone Consumer Protection Act, 47 U.S.C. §§ 227 et seq., and
16 related regulations, including the National Do-Not-Call provisions. Compl. at 1.
17 Pursuant to 28 U.S.C. § 1446(a), a true and correct copy of the Complaint and
18 available documents of the court file are attached hereto as Exhibit A.
19 II.       REMOVAL IS TIMELY
20           3.   Plaintiff filed the Complaint in state court on July 30, 2018. AFLAC
21 was served with a copy of the Complaint on August 3, 2018. The relevant statute
22 provides that, “[e]ach defendant shall have 30 days after receipt…..of the initial
23 pleading…to file the notice of removal.” 28 U.S.C. § 1446(b)(2)(B). AFLAC’s
24
25   1
     On June 11, 2018, Plaintiff filed the Class-Action Complaint in this Court (2:18-
26 cv-05159). Plaintiff voluntarily dismissed the federal action, and re-filed in state
   court on July 30, 2018.
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28                       NOTICE OF REMOVAL BY DEFENDANT AFLAC, INC.


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 1 Notice of Removal is timely and within the thirty-day period permitted. Fed. R. Civ.
 2 P. 6(a).
 3 III.      FEDERAL QUESTION JURISDICTION EXISTS UNDER 28 U.S.C
 4           § 1331
 5           4.       This action is removable to the instant Court because it originally could
 6 have been (and was) filed in this Court pursuant to 28 U.S.C. § 1441.                    The
 7 Complaint presents federal question as conferred by 28 U.S.C. § 1331.
 8           5.       In the Complaint, Plaintiff alleges four separate causes of action against
 9 AFLAC for willful and/or negligent violations of the Telephone Consumer
10 Protection Act 47 U.S.C §§ 227 et seq. Compl. 9-11.
11           6.       Federal question jurisdiction exists because the Complaint depends on
12 the determination of a dispute between the parties and available legal or equitable
13 remedies arising under federal law.
14 IV.       SATISFACTION OF 28 U.S.C §§ 1446 (a) and (d)
15           7.       The United States District Court for the Central District of California is
16 the proper venue for the removal. The Superior Court of California for the County
17 of Los Angeles is located within the United States Court for the Central District of
18 California. 28 U.S.C. § 84(c)(2)(listing counties with the Western Division of the
19 Central District of California). Thus, venue is proper in this Court because it is the
20 “district and division embracing the place where [the] action is pending.” 28 U.S.C.
21 § 1441(a).
22           8.       In accordance with 28 U.S.C. § 1446(d), AFLAC will give written
23 notice of the original removal to Plaintiff, via counsel, and file a Copy of that Notice
24 with the Superior Court of California, County of Los Angeles.
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28                           NOTICE OF REMOVAL BY DEFENDANT AFLAC, INC.


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 1       V.       CONCLUSION
 2            Because this civil action presents a federal question pursuant to 28 U.S.C.
 3 § 1331, AFLAC respectfully requests that this Court exercise its removal
 4 jurisdiction over this action
 5
 6 DATED: September 4, 2018                 SEVERSON & WERSON
                                            A Professional Corporation
 7
 8
 9                                          By:         /s/ Scott J. Hyman
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